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                                                  MISCELLANEOUS CASE COVER SHEET


PLAINTIFFS                                                                DEFENDANTS
Governor Andrew M. Cuomo                                                Office of the New York State Attorney General


Attorney’s (Firm Name, Address, and Telephone Number)                     Attorneys (If Known)
Rita M. Glavin, Glavin PLLC, 156 West 56th Street, Ste.                Serena Longley, Andrew Amer, Tamikka Pate,
2004, NY, NY 10019, (646) 693-5505                                     Office of the New York State Attorney General, 28
Theresa Trzaskoma, Sher Tremonte LLP, 90 Broad Street,
23rd Floor, NY, NY 10004, 212-202-2600                                 Liberty Street, NY, NY 10005, 212-416-8178

DESCRIPTION OF CASE                                            Has this or a similar case been previously filed in SDNY ?
Motion to Compel the Office of the New
York State Attorney General's
Compliance with Subpoena in                                    No?   ✔    Yes?               Judge Previously Assigned ______________
Connection with Action Pending in the
Eastern District of New York at                                If yes, was this case: Vol.             Invol.      Dismissed. No        Yes
22-CV-893                                                      If yes, give date                           & Case No.

NATURE OF CASE

    [✔]     M 08-85 Motion to Compel                                               [ ] M 26-2 Application to Enforce Administrative Order
    [ ]     M 08-85 Motion to Quash                                                        Rule 5A Rule of Division of Business among District
    [ ]     M 08-86 Internet Infringement                                                  Judges
    [ ]     M 08-88 Surety Companies
                                                                                   [   ]   M 28 Warrant for Entry & Inspection of Premises

    [ ]     M 08-425 Sureties Proceedings
                                                                                   [   ]   M 29 Privacy Act Application
                                                                                   [   ]   M 30 Privacy Act Application

    [   ]   M 11-03 SEC Litigation to Freeze Account
                                                                                   [   ]   M 31 Order of Commodity Exchange Commission
                                                                                           Directing Person to Pay Money
    [   ]   M 11-188 GJ Subpoenas - Unsealed
                                                                                   [ ]     M 32 Petition for Writ to Produce Federal Prisoner in
    [   ]   M 11-189 GJ Subpoenas - Sealed                                                 State Court
    [   ]   M 16-88 Sale of Unclaimed Seamen’s’ Effects                            [ ]     M 33 Inspection Warrant - Department of Energy
    [   ]   M 18-66 Forfeiture Proceedings - Funds Held in trust.                  [ ]     M 34 Order of Another District Court that the State
            28 USC 1746                                                                    Court Produce
    [ ]     M 18-302 Registration of a Judgment from Another                       [ ]     M 35 Order to Stay Transfer of Federal Prisoner
            District
                                                                                   [ ]     M 36 National Labor Relations Board
    [   ]   M 18-304 Administrative Subpoena Proceedings
                                                                                   [ ]     M 37 Application to Re-Open Civil Case(s) that are
    [   ]   M 18-305 Registration of Student Loan Judgment                                 more than 25 years old
    [   ]   M 18-981 Nonjudicial Civil Forfeiture Proceeding                       [ ]     M 38 Application for Reassignment of Bankruptcy
    [   ]   M 19-25 Order Authorizing IRS Officer to Enter                                 Proceeding
            Premises for Levy                                                      [ ]     M 39 Application for Discovery and Inspection of
    [ ]     M 19-58 General Bonds in Admiralty Purs. to Local                              Defendant Detained in Federal Prison
            Admiralty Rule 8                                                       [   ]   M 41 Order of Return of 28:2254/2255 Petition
    [ ]     M 19-63 Receivers - Property in Other Districts                        [   ]   M 42 Order Denying Stay of Deportation
    [ ]     M 19-78 Denial to Sue In Forma Pauperis                                [   ]   M 43 Contempt of Court in Bankruptcy
    [ ]     M 22-1 Designation by U.S. Attorney of Individual to                   [   ]   M 44 Claim Compensation under Longshoremen &
            accept service of summons and complaint                                        Harbor Workers Compensation Act
    [ ]     M 22-2 Designation of individual to issue certified                    [ ]     M 46 Order From Another District for Public Viewing
            copies in bankruptcy part
                                                                                   [ ]     M 47 Bankruptcy Cases - Before Appeal Filed
    [ ]     M 23 Petition to Perpetuate Testimony
                                                                                   [ ]     M 47B Transmission of Proposed Findings of Fact and
    [ ]     M 25-1 Order for Entry to Effect Levy - IRS Matter                             Conclusions of Law
    [ ]     M 25-2 Permission to have access to safe deposit                       [ ]     M 48 Application for Appointment of Counsel - No Case
            boxes                                                                          In This Court
    [ ]     M 26-1 Proceeding to Enforce Order of Administrator -                  [ ]     M 49 Order Denying Commencement of Civil Action
            National Credit Union
            Rev. 04/2019
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N AT U R E O F C AS E C O N T IN U E D

   [ ] M 51 Order to Show Cause - Case Being Transferred           [   ] M 71 Application re: Federal Rules Cr. 11(e)(2)
         from Northern District of New York                        [   ] M 72 Order of Attachment of Another District – EDNY
   [ ]   M 52 Application for Leave to File a Complaint            [   ] M 73 Subpoena to Government Agency
   [ ]   M 53 Order Barring Individual from Entering               [   ] M 75 Application for Writ of Garnishment
         Courthouse Building                                       [   ] M 76 Central Violations Bureau
   [ ]   M 54 Immigration Naturalization - Order Delaying          [   ] M 77 Application to have subpoena issued to person
         Deportation                                                      living in this district regarding action in foreign country
   [ ]   M 55 Petition for Appointment of Impartial Umpire –       or tribunal
         Labor Management Relations Act and Others                 [ ] M 90 Order of Attachment
   [ ]   M 58 Application for Extension of Time to File Petition   [ ] M 93 Letters Rogatory _________________________
         for Removal
                                                                   [ ] M 94 Other __________________________________
   [ ]   M 59 Application to Produce Federal Prisoner in State
         Court
   [ ]   M 67 Notice of Eviction to Squatters (USA Cases)
                                                                   [ ] M 98 Application to file a civil case under seal.
          Case 1:22-mc-03044-LDH-TAM Document 1-1 Filed 10/05/22 Page 3 of 3 PageID #: 5
 DO YOU CLAIM THIS CASE IS RELATED TO A MISCELLANEOUS CASE NOW PENDING IN THE SDNY? IF SO, STATE:
This action is related to a miscellaneous action filed the same day by Governor Cuomo against the New York State Assembly Judiciary Committee
regarding compliance with a Subpoena served in the same underlying action in the Eastern District of New York.
 JUDGE                                                            MISCELLANEOUS CASE NUMBER

NOTE: Please submit at the time of filing an explanation of why cases are deemed related

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)




C/O Glavin PLLC, 156 West 56th Street, Ste. 2004, New York, NY 10019




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)




28 Liberty Street, New York, NY 10005




DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN THE
RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




CHECK ONE: AT LEAST ONE PARTY IS PRO SE                    No   ✔      Yes
CHECK ONE: THIS ACTION SHOULD BE ASSIGNED TO                         WHITE PLAINS             MANHATTAN         ✔

 DATE             SIGNATURE OF ATTORNEY OF RECORD                                     ADMITTED TO PRACTICE IN THIS DISTRICT

 10/5/22 /s Theresa Trzaskoma                                                        U.S. GOVERNMENT ATTORNEY


                                                                                     NO


                                                                               ✔
                                                                                                                    04
                                                                                     YES (DATE ADMITTED MO._______ YR. ________)
                                                                                                                                  2000
 RECEIPT #                                                                                               TT4175
                                                                                     ATTORNEY BAR CODE # _____________________




 Ruby J. Krajick, Clerk of Court,                                            Dated

by Rev. 04/2019
